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 COUNSEL FOR CREDITOR SAMNOSH, LLC

                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS

 IN RE: MOUNTAIN EXPRESS OIL, ET AL.,              §                 CASE NO. 23-90147
 COMPANY,                                          §
                                                   §                    CHAPTER 11
                                                   §
     Debtor                                        §

                                     CERTIFICATE OF SERVICE

       I, David R. Gibson, certify that on the 12th day of May 2023, I caused true and correct

copies of Samnosh, LLC’s First Amended Motion to Compel Rejection of Executory Contract

and Notice of Objection Deadline [Docket No. 398] (the “Motion”) to be served via electronic

mail upon the parties listed in the service list attached hereto as Exhibit A.

       I further certify that on this 12th day of May 2023, I caused the Motion to be served by

via U.S. First Class Mail, by depositing true and correct copies thereof, enclosed in a postage

paid, properly addressed envelope, bearing the return business address of the undersigned, in an

official depository under the exclusive care and custody of the United States Postal Service

within the city and state of Texas, upon the parties listed in the service list attached hereto as

Exhibit B.




CERTIFICATE OF SERVICE                                                                          1
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       Dated: May 23, 2023
              Dallas, Texas
                                    Respectfully submitted,

                                    THE GIBSON LAW GROUP, P.C.


                                    By:
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                                          SBN 07861220
                                          david.gibson@gibsonlawgroup.com

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                                    COUNSEL FOR CREDITOR SAMNOSH, LLC




CERTIFICATE OF SERVICE                                                      2
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                                   EXHIBIT A




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                                                                                Master Service List




                  Description                                  CreditorName                        CreditorNoticeName                                  Email
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                  Description                                     CreditorName                          CreditorNoticeName                                  Email

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                                                   Perdue, Brandon, Fielder, Collins & Mott,
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                   Description                                     CreditorName                       CreditorNoticeName                                 Email
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Trustee for the bankruptcy estate of First Coast
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                                                   Texas Commission on Environmental
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                                                   Texas Commission on Environmental
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                  Description                                   CreditorName                         CreditorNoticeName                           Email

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Emergency Services District # 3, Special Road
and Bridge District, Alvin ISD, City of Alvin, Alvin
Community College District, Brazoria County
Conservation and Reclamation District # 3,
Brazoria County Emergency Services District # 4,
Brazosport ISD, City of Clute, Brazosport College Perdue, Brandon, Fielder, Collins & Mott,
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                                   EXHIBIT B




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                  Description                                  CreditorName                       CreditorNoticeName                   Address1                              Address2              City      State     Zip
Arizona Attorney General's Office - CSS          Arizona Attorney General's Office - CSS   Attn Bankruptcy Department        PO Box 6123                         MD 7611                      Phoenix        AZ    85005-6123
                                                                                           Arkansas Department of                                                                             North Little
Arkansas Dept Environmental Protection           Arkansas Dept Environmental Protection    Environmental Quality             5301 Northshore Drive                                            Rock           AR   72118-5317
Secured Party                                    BancorpSouth Bank                                                           PO Box 14100                                                     Monroe         LA   71207
Secured Party                                    Bank of Hope                                                                3200 Wilshire Blvd., Suite 1400                                  Los Angeles    CA   90010
Secured Party                                    BB&T Commercial Equipment Capital                                           2 Great Valley Parkway              Suite 300                    Malvern        PA   19355
Secured Party                                    Blue Owl                                                                    399 Park Avenue, 37th FL                                         New York       NY   10022
Bureau of Land Management                        Bureau of Land Management                 Oil & Gas Program                 1849 C Street NW                                                 Washington     DC   20240

Secured Party                                    Cadence Bank, NA                                                            1349 W Peachtree St NW Ste 100                                   Atlanta        GA   30309-2919
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                                                 California Environmental Protection
California Environmental Protection Agency       Agency                                    Headquarters Building             1001 I Street                       P.O. Box 2815                Sacramento     CA   95814
Secured Party                                    Cary Oil Co., Inc.                                                          110 MacKenan Drive                  Suite 300                    Cary           NC   27511
Secured Party                                    CT Corporation System, Representative                                       330 N. Brand Blvd. Ste 700          Attn SPRD                    Glendale       CA   91203
                                                                                                                             2125 Rayburn House Office
Energy & Commerce Committee                   Energy & Commerce Committee                                                    Building                                                         Washington     DC   20515
                                              Energy and Natural Resources Committee
Energy and Natural Resources Committee Office Office                                                                         304 Dirksen Senate Building                                      Washington     DC   20510

Regional EPA for Region 1                        Environmental Protection Agency                                             5 Post Office Square                Suite 100                    Boston         MA   02109-3912
Regional EPA for Region 2                        Environmental Protection Agency                                             290 Broadway                                                     New York       NY   10007-1866

Regional EPA for Region 3                        Environmental Protection Agency                                             Four Penn Center                    1600 JFK Blvd.               Philadelphia   PA   19103-2029

Regional EPA for Region 4                        Environmental Protection Agency                                             Atlanta Federal Center              61 Forsyth Street SW         Atlanta        GA   30303-3104

Regional EPA for Region 5                        Environmental Protection Agency                                             77 West Jackson Blvd.                                            Chicago        IL   60604-3507

Regional EPA for Region 6                        Environmental Protection Agency                                             1201 Elm Street Suite 500                                        Dallas         TX   75270

Regional EPA for Region 7                        Environmental Protection Agency                                             11201 Renner Blvd                                                Lenexa         KS   66219

Regional EPA for Region 10                       Environmental Protection Agency                                             1200 Sixth Ave                      Suite 155                    Seattle        WA   98101
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                                                                                                                             A Div. of First Commonwealth
Secured Party                                    First Commonwealth Equipment Finance                                        Bank                                200 Berwyn Park, Ste 310     Berwyn         PA   19312

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Secured Party                                    Hancock Whitney Bank                                                        PO Box 211269                                                    Montgomery     AL   36121
Secured Party                                    IberiaBank, as Administrative Agent                                         11 East Greenway Plaza              Suite 2700                   Houston        TX   77046
Indiana Dept of Environmental Mgmt               Indiana Dept of Environmental Mgmt      Office of Legal Counsel             100 North Senate Ave                                             Indianapolis   IN   46204-2251
IRS                                              Internal Revenue Service                Centralized Insolvency Operation    PO Box 7346                                                      Philadelphia   PA   19101-7346
IRS                                              Internal Revenue Service                Centralized Insolvency Operation    2970 Market St                                                   Philadelphia   PA   19104

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                                                                                                                             Charles Curtis State Office
Kansas Dept of Health and Environment            Kansas Dept of Health and Environment                                       Building                            1000 SW Jackson              Topeka         KS   66612
Mississippi Attorney General                     Mississippi Attorney General              Attn Bankruptcy Department        Walter Sillers Building             550 High St Ste 1200         Jackson        MS   39201

Mississippi Dept of Environmental Quality        Mississippi Dept of Environmental Quality Legal Division                    515 E. Amite St                                                  Jackson        MS   39201
Secured Party                                    MoneyGram Payment Systems Inc.                                              1550 Utica Ave. South               Suite 100                    Minneapolis    MN   55416
Debtors and Debtors in Possession                Mountain Express Oil Company                                                3650 Mansell Road, Suite 250                                     Alpharetta     GA   30022




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                  Description                                  CreditorName                        CreditorNoticeName                      Address1                        Address2                  City    State     Zip
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                                                                                                                                                                 100 N. Wilkes Barre Blvd., Ste
Secured Party                                    NEPA Trading & Investments, LLC                                                Fuel on St. Mary's LLC           322                            Wilkes Barre PA    18702
Nevada Dept of Conservation & Natural            Nevada Dept of Conservation & Natural
Resources                                        Resources                                  Division of Environmental Protection 901 S. Stewart St Suite 1003                                  Carson City   NV    89701-5249
                                                 New Jersey Dept of Environmental
New Jersey Dept of Environmental Protection      Protection                                                                     401 East State St.                                             Trenton       NJ    08625
                                                                                                                                                                 1190 St Francis Drive Suite
New Mexico Environment Dept                      New Mexico Environment Dept                                                    Harold Runnels Building          N4050                         Santa Fe      NM    87505
                                                 New York Dept of Environmental
New York Dept of Environmental Conservation      Conservation                                                                    625 Broadway                                                  Albany        NY    12233-0001
                                                                                            Michael Reiter, Jared Sheiker, Stash
Oak Street                                       Oak Street, a Division of Blue Owl         Rowley                               399 Park Avenue, 37th Flr.                                    New York      NY    10022
                                                                                                                                                                                               Oklahoma
Oklahoma Corporation Commission                  Oklahoma Corporation Commission            Oil & Gas Division                  2101 North Lincoln Blvd                                        City          OK    73105
                                                                                                                                                                                               Oklahoma
Oklahoma Dept of Environmental Quality           Oklahoma Dept of Environmental Quality                                         PO Box 1677                                                    City          OK    73101-1677
Secured Party                                    Pinnacle Bank                                                                  P.O. Box 430                                                   Elberton      GA    30635
Counsel for Goose Creek Consolidated
Independent School District and Lee College
District                                         Reid, Strickland & Gillette, L.L.P.        Brandon E. Benoit                   PO Box 809                                                     Baytown       TX    77522-0809

Secured Party                                Sinclair Oil LLC                                                                   550 E. South Temple                                            Salt Lake City UT   84102
Secured Party                                South State Bank                                                                   1101 First St South, Suite 202                                 Winter Haven FL     33880
                                             Sumitomo Mitsui Finance and Leasing
Secured Party                                Co., Ltd.                                                                          666 Third Avenue                 8th Floor                     New York      NY    10017
Secured Party                                Synovus Bank                                                                       1148 Broadway                                                  Columbus      GA    31901
Secured Party                                TCF National Bank                                                                  1110 Wayzata Blvd.               Suite 801                     Minnetonka    MN    55305
                                             Tennessee Dept of Environment &
Tennessee Dept of Environment & Conservation Conservation                                                                       312 Rosa L. Parks Ave            Tenessee Tower 2nd Floor      Nashville     TN    37243
Secured Party                                United Community Bank                                                              HWY 515                          PO Box 398                    Blairsville   GA    30514
US Department of Energy                      US Department of Energy                                                            1000 Independence Ave SW                                       Washington    DC    20585

EPA Headquarters                                 USEPA William Jefferson Clinton Building                                       1200 Pennsylvania Ave NW                                       Washington    DC    20004

Virginia Dept of Environmental Quality           Virginia Dept of Environmental Quality                                         1111 East Main Street, Suite 1400                              Richmond      VA    23219
Wisconsin Dept of Natural Resources              Wisconsin Dept of Natural Resources                                            101 S Webster Street              PO Box 7921                  Madison       WI    53707-7921




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    Case No. 23-91047 (DRJ)                                                                                 Page 2 of 2
